                Case 2:11-cv-04895-EL Document 10 Filed 12/16/11 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MATTHEW BARTHOLOMEW,                                          :      CIVIL ACTION
         Plaintiff                                            :
                                                              :
         v.                                                   :      NO. 2:11-cv-04895-EL
                                                              :
PROFESSIONAL RECOVERY SERVICES, INC.,                         :
          Defendants                                          :      JURY TRIAL DEMANDED

        DEFENDANT PROFESSIONAL RECOVERY SERVICES, INC.’S ANSWER,
              AFFIRMATIVE DEFENSES AND DEMAND FOR JURY

         Defendant Professional Recovery Services, Inc. (“Defendant”), by its undersigned

counsel, answers Plaintiff’s Complaint and states as follows:

1.       Admitted that Plaintiff is an adult natural person. Admitted that this case is an action
         brought by Plaintiff under the Fair Debt Collection Practices Act (“FDCPA”), the
         Pennsylvania Fair Credit Extension Uniformity Act (“PFCEUA”) and the Unfair Trade
         Practices and Consumer Protection Law (“UTPCLP”). All remaining allegations
         contained in paragraph 1 of Plaintiff’s Complaint are denied.

2.       Admitted.

3.       Admitted.

4.       Admitted that Plaintiff is an adult natural person. Defendant is without sufficient
         knowledge to form a belief as to the truth of the remaining allegations contained in
         paragraph 4 of the Complaint, and therefore denies said allegations.

5.       Admitted that Defendant has an office located at Two Echelon Plaza 221, Laurel Road,
         Suite 160, Voorhees, NJ 08043. Further admitted that Defendant is engaged in the
         business of collecting debt within the Commonwealth of Pennsylvania and the State of
         New Jersey. All remaining allegations contained in paragraph 5 of Plaintiff’s Complaint
         are denied.

6.       Admitted that under certain circumstances, Defendant may fall under the definition of
         “debt collector” as that term is defined in the FDCPA. Admitted that Defendant is
         engaged in the collection of debts from consumers using the telephone and mail. All
         remaining allegations contained in paragraph 6 of Plaintiff’s Complaint are denied.

7.       Denied.

8.       Denied.



{00494659;v1}                                     1
                Case 2:11-cv-04895-EL Document 10 Filed 12/16/11 Page 2 of 5




9.       Denied.

10.      Denied.

11.      Denied.

12.      Denied.

13.      Denied.

14.      Admitted that Defendant did not speak with Plaintiff in October 2010 through the date of
         the filing of this Complaint. Defendant is without sufficient knowledge to form a belief
         as to the truth of the remaining allegations contained in paragraph 14 of the Complaint,
         and therefore denies said allegations.

15.      Defendant is without sufficient knowledge to form a belief as to the truth of the
         remaining allegations contained in paragraph 15 of the Complaint, and therefore denies
         said allegations.

16.      Admitted that Defendant did not send Plaintiff anything in writing in 2010. Defendant is
         without sufficient knowledge to form a belief as to the truth of the remaining allegations
         contained in paragraph 16 of the Complaint, and therefore denies said allegations.

17.      Denied.

18.      Denied.

19.      Denied.

20.      Denied.

21.      Denied.

22.      Denied.

23.      Denied.

                                             COUNT I

24.      All allegations incorporated by reference in paragraph 24 of the Complaint are admitted
         and denied in the same manner and to the same extent as said allegations are otherwise
         admitted and denied herein.

25.      Denied.




{00494659;v1}                                     2
                Case 2:11-cv-04895-EL Document 10 Filed 12/16/11 Page 3 of 5




26.      Denied.

                                            COUNT II

27.      All allegations incorporated by reference in paragraph 27 of the Complaint are admitted
         and denied in the same manner and to the same extent as said allegations are otherwise
         admitted and denied herein.

28.      Admitted as to the contents of the FCEUA and the UTPCPL. Admitted that under certain
         circumstances, Defendant may fall under the definition of “debt collector” as that term is
         defined in the FCEUA. All remaining allegations contained in paragraph 28 of Plaintiff’s
         Complaint are denied.

29.      Denied.

30.      Admitted as to the contents of the FCEUA and the UTPCPL. All remaining allegations
         contained in paragraph 30 of Plaintiff’s Complaint are denied.

31.      Denied.

32.      Admitted as to the contents of the FCEUA and the UTPCPL. All remaining allegations
         contained in paragraph 32 of Plaintiff’s Complaint are denied.

33.      Denied.

34.      Denied.

                                            COUNT III

35.      All allegations incorporated by reference in paragraph 35 of the Complaint are admitted
         and denied in the same manner and to the same extent as said allegations are otherwise
         admitted and denied herein.

36.      Admitted.

37.      Admitted as to the contents of the UTPCPL. All remaining allegations contained in
         paragraph 37 of Plaintiff’s Complaint are denied.

38 (a) – (c).      Denied.

39.      Denied.

40.      All other allegations in the Complaint not otherwise specifically admitted or denied
         herein are denied.




{00494659;v1}                                    3
                Case 2:11-cv-04895-EL Document 10 Filed 12/16/11 Page 4 of 5




         WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Complaint at

Plaintiff’s cost and that Defendant be awarded reasonable attorney fees and costs as provided for

under applicable law.

                                   AFFIRMATIVE DEFENSES

1.       Plaintiff failed to state a claim upon which relief can be granted.

2.       Any violation of law by Defendant, which is specifically denied, was not intentional and
         resulted from a bona fide error notwithstanding the maintenance of procedures
         reasonably adapted to avoid any such error.

3.       At all pertinent times, Defendant acted in good faith reliance on the information provided
         by the creditor of the account.

4.       Plaintiff failed to mitigate his damages.

5.       At all times Defendant acted in good faith.

6.       Defendant did not make any false or misleading representation to Plaintiff or anyone else.

7.       Plaintiff did not justifiably rely upon any alleged false or misleading representation.

                                       DEMAND FOR JURY

         Defendant demands a jury pursuant to Fed. R. Civ. P. 38 for all issues so triable.


                                                FINEMAN KREKSTEIN & HARRIS, P.C.


                                        By               /S/ Jennifer Tatum Root
                                                RICHARD J. PERR, ESQUIRE (PA 72883)
                                                JENNIFER TATUM ROOT, ESQUIRE (PA 308693)
                                                BNY Mellon Center
                                                1735 Market Street, Suite 600
                                                Philadelphia, PA 19103-7513
                                                (v) 215-893-9300; (f) 215-893-8719
                                                e-mail: rperr@finemanlawfirm.com
                                                        jroot@finemanlawfirm.com
                                                Attorneys for Defendant Professional Recovery
                                                Services, Inc.
Dated:             December 16, 2011




{00494659;v1}                                        4
                Case 2:11-cv-04895-EL Document 10 Filed 12/16/11 Page 5 of 5




                             CERTIFICATE OF SERVICE
         I, JENNIFER TATUM ROOT, ESQUIRE, hereby certify that on or about this date, I

served a true and correct copy of the foregoing electronically, or by first class mail, postage

prepaid, or telecopy on the following:

                               Brent F. Vullings, Esquire
                               Bruce K. Warren, Esquire
                               Warren and Vullings, LLP
                               93 Old York Road, Suite 333
                               Jenkintown Commons
                               Jenkintown, PA 19046
                               (v)215-745-9800; (f) 215-745-7880
                               bv@w-vlaw.com; bkw@w-vlaw.com
                                      Attorneys for Plaintiff


                                                   /S/ Jennifer Tatum Root
                                              JENNIFER TATUM ROOT, ESQUIRE
Dated:             December 16, 2011




{00494659;v1}                                    5
